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                        [N THE UNITED STATES DISTRICT COIJR. DISTRICT COURT
                                                                           AUGUSTA
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
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                                     AUGUSTA DIVISION
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  DEVICCO TROY MOSS,                                                      SO. UIST OF CA.

                 Petitioner,

         V.                                         CV 111-205
                                                    (Formerly CR 110-251)
  UNITED STATES OF AMERICA,

                 Respondent.


              MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION


         Petitioner Devicco Troy Moss, an inmate currently incarcerated at USP - Atlanta in

 Atlanta, Georgia, has filed with this Court a motion under 28 U.S.C. § 2255 to vacate, set

 aside, or correct his sentence. For the reasons set forth below, the Court REPORTS and

  RECOMMENDS that the motion be DENIED, that this civil action be CLOSED, and that

 a final judgment be ENTERED in favor of Respondent.

 I.      BACKGROUND

         On September 15, 2010, a federal grand jury returned a 56-count indictment against

 Petitioner and 22 co-defendants for various narcotics violations. Petitioner was named in three

 of those counts: Count One charged him with conspiracy to distribute 5 kilograms or more of

 cocaine hydrochloride, 280 grams or more of cocaine base, an amount of Oxycodone, and an

 amount of 3,4- methylenedioxymethaniphetamine (MDMA, a/k/a Ecstasy), in violation of 21

 U.S.C. § 841(a)(1) and 846; Counts Twenty and Twenty-One charged him with use of a

 communication facility in causing or facilitating the commission of a felony, in violation of 21

 U.S.C. § 843(b); the indictment also included a forfeiture allegation against money and real

 and personal property obtained from the crimes alleged in the indictment. United States v.
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  Woods, CR 110-251, doe. no. 4 (S.D. Ga. Sep. 15, 2010) (hereinafter "CR 110-251"). A

 penalty certification was filed simultaneously with the indictment. See doe. no. 5. The

 Court appointed Edward J. Coleman, III, to represent Petitioner. Id., doe. no. 272.

         Pursuant to a written plea agreement, Petitioner pleaded guilty to the lesser-included

 offense of Count One to conspiracy to distribute a quantity of controlled substances.' J, doe.

 nos. 623, 624. Petitioner's plea agreement contained a broad appeal and collateral attack

 waiver provision that stated in relevant part:

         To the maximum extent permitted by federal law, the defendant voluntarily and
         expressly waives the right to appeal the conviction and sentence and the right
         to collaterally attack the conviction and sentence in any post-conviction
         proceeding, including a § 2255 proceeding, on any ground, except that: the
         defendant may file a direct appeal of his sentence if it exceeds the statutory
         maximum; and the defendant may file a direct appeal of his sentence if, by
         variance or upward departure, the sentence is higher than the advisory
         sentencing guideline range as found by the sentencing court. The defendant
         understands that this Plea Agreement does not limit the Government's right to
         appeal, but if the Government appeals the sentence imposed, the defendant may
         also file a direct appeal of the sentence.

 Id.., doc. no. 624, p. 5. In return, the government agreed to dismiss the remaining counts

 against Petitioner, not to object to a 2-point reduction in Petitioner's offense level for

 acceptance of responsibility, and to move for an additional 1-point reduction for acceptance

 of responsibility. Id. at 1-2. In addition, the government agreed to consider whether to file a

 motion for downward departure from the applicable Sentencing Guidelines range if Petitioner's

 cooperation qualified as "substantial assistance" pursuant to United States Sentencing

 Guidelines ("U.S.S.G.") § 5K1.l. lat2-3.




          'Specifically. Petitioner pleaded guilty to conspiracy to distribute and possess with
 intent to distribute cocaine hydrochloride, cocaine base, an amount of Oxycodone, and an
 amount of 3,4- methylenedioxyrnethamphetamine (MDMA, a/k/a Ecstacy), in violation of 21
 U.S.C. § 841 (a)(l) and 846. The plea agreement further stipulated that the quantity of
 controlled substances attributable to Petitioner is "at least 280 grams of cocaine base but less
 than 500 grams of cocaine base." CR 110-251. doe. no. 624, p. 6.

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         At the Rule I hearing held on May 10, 2011, the Honorable J. Randal Hall, United

 States District Judge, summarized the terms of the plea agreement and explained to Petitioner

 that he "agreed to voluntarily and expressly waive[his] right to directly appeal [his] conviction

 and sentence and to collaterally attack [his] conviction and sentence in a post-conviction

 proceeding on any ground," except for the two limited situations provided for in the plea

 agreement. Id., doe. no. 818, pp. 32-34. Judge Hall asked Petitioner if he understood and

 agreed to these provisions of the plea agreement. Id. at 32, 34. Petitioner responded that he

 did. Id. Judge Hall also informed Petitioner in detail that he would be waiving a number of

  other rights by pleading guilty. j4 at 11-14. When Judge Hall asked whether Petitioner was

  satisfied with the representation of his counsel, Petitioner responded that he was. j... at 11.

          Judge Hall also explained at the Rule ii hearing that the maximum penalty for

  Petitioner's crime was a term of not more than twenty years of incarceration, a fine of not more

  than $1 ,00,000, or both, followed by a term of supervised release for at least three years. i4.

  at 34. When Judge Hall asked whether Petitioner understood the potential penalties, Petitioner

  responded "Yes, sir." Id. Moreover, Judge Hall explained the role of the Sentencing

  Guidelines, emphasizing that they were only advisory and not binding on him. Id. at 37. In

  addition, a government witness provided testimony as to the factual basis for the plea, the truth

  of which Petitioner confirmed. See id. at 20-27, 31. Furthermore, in response to a question

  asked by Judge Hall, Petitioner averred that no one had made him any promise, prediction, or

  prophesy that he would receive a particular sentence. Id. at 37-38. Similarly, Petitioner stated

  that no one had forced, required, or pressured him to plead guilty, nor had anyone promised

  him anything in order to induce him to plead guilty. Id.. at 34, 38. At the conclusion of the

  Rule 11 colloquy. Judge Hall accepted Petitioner's guilty plea. jç at 38.

          After the Rule 11 hearing, the United States Probation Office prepared a presentence



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 investigation report ('PSI"). Because of the quantity of cocaine base to which the parties had

 stipulated in the plea agreement. the PSI provided that a base offense level of 32 was warranted

 pursuant to U.S.S.G. § 2D LI (c)(4), which provides that drug offenses involving at least 280

 grams but less than 840 grams of cocaine base have a base offense level of 32. PSI ¶ 20. The

 PSI also provided for a three-level reduction in Petitioner's base offense level for acceptance

 of responsibility, resulting in a total offense level of 29. PSI ¶J 20-29. In calculating

 Petitioner's criminal history category, the PSI provided that Petitioner's two prior criminal

 convictions garnered three criminal history points each, resulting in a subtotal criminal history

 score of six. PSI ¶ 33. In addition, pursuant to U.S.S.G. § 4A1.1(d), two criminal history

 points were added to the subtotal because Petitioner was on probation at the time he committed

 the underlying offense, resulting in a total criminal history score of eight points. PSI ¶ 34. The

  PSI further provided that eight criminal history points established a criminal history category

  of IV. I4 1 35. Based on these factors, the PSI set forth a Sentencing Guidelines range of 121 -

  151 months of imprisonment. PSI IT 54-55.

          Petitioner filed two objections to an initial version of the PSI, which were resolved in

  the final version of that report. PSI, addendum; CR 110-25 1, doe. no. 816, p. 4. Petitioner did

  not object to the final version of the PSI. PSI, addendum; CR 110-251, doe. no. 816, p.4.

  During the October 12, 2011 sentencing hearing, Judge Hall adopted the PS I's conclusions and

  granted the government's motion pursuant to U.S.S.G. § 3131. 1 (B) for a three-point reduction

  for Petitioner's acceptance of responsibility. C 110-251. doe. no. 816, p. 5. Further, in

  accordance with the governments motion for a downward departure pursuant to U.S.S.G.

  § SKI .1, Judge Hall departed below the applicable guideline range of 121-151 months and

  sentenced Petitioner to a term of 97 months of imprisonment. Id. at 17. Consistent with his

  plea agreement, Petitioner did not appeal.

          On December 16, 2011, Petitioner filed the instant § 2255 motion, in which he raises

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 the following grounds for relief: (1) his indictment is fatally flawed because it did not

 explicitly reference the penalty provision of the statute under which he was charged; (2) his

 guilty plea was not knowing or voluntary; (3) the District Court erroneously imposed a two-

 point increase in his criminal history calculation under U.S.S.G. § 4A1,l(e) for recency; and

  (4) his trial counsel provided ineffective assistance in that he (a) failed to discoverthe improper

 two-point increase in Petitioner's criminal history calculation in the PSI, (b) failed to consult

  with Petitioner about filing a direct appeal, (c.) failed to appeal the improper two-point increase

  despite Petitioner's repeated requests that he do so, and (d) caused Petitioner to enter into a

  "flawed" plea agreement because of his deficient handling of the improper two-point increase

  in Petitioner's criminal history calculation. (Doe. no. I, pp. 4, 7-24.) Respondent contends

  that Petitioner's § 2255 motion should be dismissed because his guilty plea was knowing and.

  voluntary and thus his § 2255 claims are barred by the collateral attack waiver set forth in his

  plea agreement. (See doe. no. 3.) The Court resolves the matter as follows.

  H.      DISCUSSION

          A.      No Need For Evidentiary Hearing

          The Court recognizes that in the Eleventh Circuit, the general rule is "that effective

  assistance claims will not be addressed on direct appeal from a criminal conviction because an

  evidentiary hearing, available in a section 2255 proceeding, is often required for development

  of an adequate record." Vick v. United States, 730 F.2d 707, 708 (11th Cir. 1984).

  Nonetheless, this general rule does not require the Court to hold an evidentiary hearing every

  time an ineffective assistance of counsel claim is raised. Id. Stated another way:

          Notwithstanding this legislative mandate, it is well settled that a petitioner does
          not establish his right to a hearing by the simple expedient of filing a petition.
          A hearing is not required on patently frivolous claims or those which are based
          upon unsupported generalizations. Nor is a hearing required where the
          petitioner's allegations are affirmatively contradicted by the record.

  Stephens v. United States, 14 F. Supp.2d 1322, 1334 (N.D. Ga. 1998) (citation omitted).

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         As described in detail below, the Court finds that Petitioner's claims are barred from

 review, lack merit as a matter of law, or are otherwise affirmatively contradicted by the record.

 Thus, no evidentiary hearing is necessary in this case.

         B.      Petitioner's Guilty Plea Was Knowing and Voluntary

         Once a guilty plea becomes final, unless the record demonstrates that the sentencing

 court lacked the power to enter the conviction or impose the sentence, a petitioner may only

 challenge the knowing, voluntary nature of the plea. United States v. Broce, 488 U.S. 563,574

 (1989). In conducting its analysis, the Court starts with the proposition that atria] court may

 not accept a guilty plea without an affirmative showing on the record that the plea was

 intelligent and voluntary. Boykin v. Alabama, 395 U.S. 238, 242-43 (1969). The Eleventh

 Circuit has described the requirements for a valid guilty plea as follows:

                 "The Fourteenth Amendment Due Process Clause requires that a plea
         of guilty be knowingly and voluntarily entered because it involves a waiver of
         a number of the defendant's constitutional rights." A plea of guilty Cannot
         support ajudgrnent of guilt unless it was voluntary in a constitutional sense."
         Aside from the obvious involuntariness of a coerced plea, the Supreme Court
         has identified two other ways that a defendant's guilty plea may be involuntary
         in a constitutional sense:

                          A plea may be involuntary either because the accused
                 does not understand the nature of the constitutional protections
                 that he is waiving, or because he has such an incomplete
                 understanding of the charge that his plea cannot stand as an
                 intelligent admission of guilt. Without adequate notice of the
                 nature of the charge against him, or proof that he in fact
                 understood the charge, the plea cannot be voluntary in this
                 latter sense.

        As the Supreme Court has plainly instructed, the voluntariness requirement is
        not satisfied unless the defendant receives real notice of the true nature of the
        charged crime: "Clearly the plea could not be voluntary in the sense that it
        constituted an intelligent admission that he committed the offense unless the
        defendant received 'real notice of the true nature of the charge against him, the
        first and most universally recognized requirement of due process."'

 United States v. Brown, 117 F.3d 471,476(11th Cir. 1997) (internal citations omitted). The
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 Eleventh Circuit has further explained that, for a guilty plea to be made knowingly and

 voluntarily, the court accepting the guilty plea must "specifically address three 'core

 principles,' ensuring that a defendant (1) enters his guilty plea free from coercion,

 (2) understands the nature of the charges, and (3) understands the consequences ot his plea."

 United States v. Moriart y, 429 F.3d 1012, 1019 (11th Cir. 2005) (per curiam) (quotation

 omitted). In addition, "a defendant who seeks reversal of his conviction after a guilty plea.

 - . must show a reasonable probability that, but for the error, he would not have entered the

 plea." Id. at 1020 (quoting United States v. Dominguez Benitez, 542 U.S. 74, 83 (2004)).

         Here, the extensive plea colloquy conducted by Judge Hall addresses each of the

 aforementioned 'core principles" Moriarty, 429 F.3d at 1019. Judge Hall informed Petitioner

 in clear terms of the charge to which Petitioner was pleading guilty, as well as the maximum

 penalty that might be imposed in the event of Petitioner's conviction, and Petitioner testified

 that he understood the charge and the maximum penalty that might be imposed. CR 110-251,

 doe, no. 818, pp. 32-34. Judge Hall also provided a detailed explanation of the rights that

 Petitioner would forfeit by pleading guilty; Petitioner stated that he understood these rights and

 that his decision to plead guilty would result in a waiver of these rights. Id. at 11-14, 33-34.

 In addition, Petitioner testified that no one had made him any promise, prediction, or prophesy

 that he would receive a particular sentence, and that no one had forced, pressured, or induced

 him to plead guilty. Id. at 34, 37-38.

         In short, Judge Hall's thorough plea colloquy ensured that Petitioner's guilty plea was

 free from coercion and that Petitioner understood both the nature of the charge to which he was

 pleading guilty and the consequences of his plea. See Moriart y, 429 F.3d at 1019. The record

 is therefore clear as to the intelligent and voluntary entry of Petitioner's guilty plea, and

 Petitioner fails to show otherwise with his assertion that he was not made aware of a two-point

 increase in his criminal history points for recency of his offense under L1.S.S.G. § 4A1 .1(e).

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 (See doe. no. 1, P. 21.)         As Respondent persuasively argues. Petitioner's alleged

 misunderstanding does not undermine the "core principles" ensuring the knowing and

 voluntary nature of his guilty plea. (Doe. no. 3, pp. 7-8.) indeed, as Respondent points out ( i d.

 at 8), Petitioner received no such increase in his criminal history points. Thus. Petitioner's

 conciusory allegation that he would not have pleaded guilty had he known about a non-existent

 increase in his criminal history points (doe. no. 1, p. 23) is clearly insufficient to carry his

 burden that he would not have entered the guilty plea. See Moriarty, 429 F.3d at 1020.

 Accordingly, the Court finds that Petitioner's guilty plea was entered knowingly and

 voluntarily, and he is therefore not entitled to relief on Ground Two of his motion.

         C.      Effect Of Collateral Attack Waiver In The Plea Agreement

         Having established that Petitioner is not entitled to relief on Ground Two of his motion,

 the Court proceeds to address whether Petitioner is entitled to relief on any of the remaining

 grounds in his § 2255 motion. For the reasons set forth below, the Court finds that Grounds

 One and Three of Petitioner's motion are blocked by the collateral attack waiver in his plea

 agreement, as are three of the four claims raised in Ground Four of his motion asserting that

 he received ineffective assistance of counsel. Further. while Petitioner's fourth claim that his

 counsel rendered ineffective assistance by causing him to enter into a "flawed" plea agreement

 is not blocked by the collateral attack waiver, the Court finds this claim to be without merit.

                 1.      Knowing And Voluntary Nature Of Waiver

         It is well settled that a waiver of the right to collaterally attack a sentence is only

 enforceable if the waiver is knowing and voluntary. United States v. Weaver, 275 F.3d 1320,

 1333 (11th Cir. 2001); United States v. Bushert, 997 F.2d 1343, 1350-51 (11th Cir. 1993).2




          2 Case law concerning waiver of a direct appeal has also been applied to waiver of the
 right to collateral proceedings. See United States v. Bushert, 997 F.2d 1343, 1350-51(1 ith Cir.
 1993): see also Vaca-Ortiz v. United States, 320 F. Supp.2d 1362, 1365-67 (N.D. Ga. 2004).

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 "To establish the waiver's validity, the government must show either that(1)the district court

 specifically questioned the defendant about the provision during the plea colloquy, or (2) it is

 manifestly clear from the record that the defendant fully understood the significance of the

 waiver." Weaver, 275 F.3d at 1333. If the government meets this burden in the instant case,

 then Petitioner's claim regarding his counsel's alleged failure to consult about filing a direct

 appeal is barred from review. See United States v. Howle, 166 F.3d 1166, 1168-69 (11th Cir.

   enforcing waiver provision where defendant was specifically questioned about waiver);
  1999)

 United States v. Benitez-Zap ata, 131 F.3d 1444, 1146-47 (11th Cir. 1997).

         Here, Respondent has met its burden in demonstrating the existence ofa valid collateral

 attack waiver. The plea agreement signed and verified by Petitioner explicitly set forth that

 he was voluntarily waiving his right to collaterally attack his sentence "in any post-conviction

 proceeding, including a § 2255 proceeding." CR 110-251, doe. no. 624, p. 5. Moreover, Judge

 Hall thoroughly reviewed the terms of the plea agreement during the plea colloquy, with

 particular emphasis on the significance of the collateral attack waiver provision. i, doe.

 no. 818, pp. 32-34. After Judge Hall concluded his review of the plea agreement, Petitioner

 acknowledged that he understood and agreed with the terms of the plea agreement as explained

 byiudgel-lall. Id.

         The record before the Court therefore demonstrates that the collateral attack waiver was

 knowing and voluntary. While Petitioner would have the Court ignore his responses to Judge

 Hall's questions, "solemn declarations in open court [at a guilty plea hearing] carry a strong

 presumption of verity" and "constitute a formidable barrier in any subsequent collateral

 proceedings." Blackledge v. Allison, 431 U.S. 63, 74 (1977). Thus, the Court concludes that

 the collateral attack waiver is valid. Accordingly, Petitioner's claims in Ground One - that his

 indictment is fatall y flawed because it did not explicitly reference the penalty provision of the

 statute under which he was charged - and Ground Three - that the District Court erroneously
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  imposed a two-point increase in his criminal history calculation under U.S.S.G. § 4A1.l(e)

  for recency - are barred by the waiver. Furthermore, as explained below, all but one of

  Petitioner's claims of ineffective assistance of counsel raised in Ground Four of his motion are

  similarly barred by the waiver.

           An ineffective assistance of counsel argument survives a waiver of appeal [or

  collateral attack] only when the claimed assistance directly affected the validity of that waiver

  or the plea itself" Williams v. United States, 396 F.3d 1340, 1342 n.2 (11th Cir. 2005)

  (quoting United States v. White, 307 F.3d 506, 508-09 (5th Cir. 2002)). Applying this

  principle, the Eleventh Circuit concluded in Williams that the petitioner' s ineffective assistance

  of counsel claims concerning his counsel's representation at sentencing were covered by the

  collateral attack waiver in the plea agreement, as the claims "[did] not concern representation

  relating to the validity of the plea or waiver." See

          The same reasoning applies to Petitioner's claim in Ground Four of his motion that his

  trial counsel failed to discover the improper two-point increase in Petitioner's criminal history

  calculation in the PSI. First, for the reasons set forth supra Part I1.B, Petitioner's claim

  regarding the allegedly erroneous criminal history calculation does not alter the Court's

  conclusion that his guilty plea was knowing and voluntary. Second, this claim does not call

  into question the validity of the waiver provision. This claim is therefore barred from review

  by the collateral attack waiver. See Williams, 307 F.3d at 508-09.

          Although the Eleventh Circuit has not addressed the exact issue presented here, the

  rationale from Williams also applies with respect to Petitioner's claims in Ground Four that

  his counsel was ineffective for failing to consult about filing an appeal, and for failing to appeal

  the allegedly improper two-point increase despite Petitioner's repeated requests that he do so.

  Because these claims do not affect the validity of the guilty plea or relate to the waiver in the

  plea agreement, they are also barred by the collateral attack waiver. See j; United States v.

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  Falcon-Sanchez, 416 F. App'x 728, 730 (10th Cir. 2011) (holding that ineffective assistance

  claim based on counsel's failure to file notice of appeal as instructed by petitioner was barred

  by collateral attack waiver because the claim '[did] not relate to the validity of the plea or the

  waiver"); see also United States v. Morgan, 284 F. App'x 79. 87 (4th Cir. 2008) (per curiam)

  (holding that ineffective assistance claim based on counsel's failure to file appeal was barred

  by collateral attack waiver); Skaggs v. United States, 104 F. App'x 462, 464 (6th Cir. 2004)

  (same). But see United States v. Tapp, 491 F.3d 263, 266 (5th Cir. 2007) (holding that

  ineffective assistance claim based on counsel's failure to file appeal was not barred by appeal

  and collateral attack waiver).

          Additionally, the determination that these claims are barred by the collateral attack

 waiver does not run afoul of the decision in United States v. Gomez-Diaz, 433 F.3d 788 (11th

 Cir. 2005). In that case, the Eleventh Circuit held that a § 2255 petitioner who had entered into

 a valid appeal waiver did not have to show a meritorious ground for appeal in order to prevail

 on a claim that his counsel was ineffective for failing to file a notice of appeal when instructed

 to do so. Id. at 793-94. In contrast to the issue addressed in Gomez-Diaz, the determinative

 question in the instant case is whether, assuming the truth of Petitioner's allegations that his

 counsel improperly failed to consult about an appeal or to appeal after being requested to do

 so, Petitioner is nevertheless barred from raising a claim of ineffective assistance of counsel

 by a valid waiver of his right to collaterally attack his sentence.

         In other words, the Gomez-Diaz decision focused on the waiver of the petitioner's right

 to file a direct appeal— in particular, whether the existence of a direct appeal waiver precluded

 an ineffective assistance of counsel claim absent a showing of a meritorious ground for appeal.

 See Id. The focus of the instant case is the collateral attack waiver. That waiver represents

 a forfeiture of the right to collaterally attack any error - even a "blatant error" such as

 counsel's failure to consult about a direct appeal - that does not fall within the previously

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  discussed exception from Williams. supra. See United States v. Howle. 166 F.3d 1166, 1169

  (1 ith Cir. 1999) (reasoning that a waiver of the right to pursue an appeal or collateral attack

  'includes a waiver of the right to appeal [or collaterally attack] blatant error"). Therefore,

  following the rationale of Williams, the Court concludes that enforcement of the collateral

  attack waiver in the instant case does not contradict the Eleventh Circuit's holding in Gomez-

  Diaz.'

                  2.      Ineffective Assistance of Counsel Claim in Ground One Not
                          Barred By Waiver, but Lacks Merit

           Notwithstanding the analysis above. Petitioner's sole remaining claim in Ground Four

  - that his counsel provided ineffective assistance by causing Petitioner to enter into a "flawed"

  plea agreement - is not precluded by his appeal waiver, as "there may be a distinction between

  a § 2255 claim of ineffective assistance in entering or negotiating the plea versus a claim of

  ineffectiveness at sentencing or a claim challenging the validity of the plea or agreement."

  Williams, 396 F.3d at 1342; see also Vaca-Ortiz, 320 F.Supp.2d at 1365 "[T]he court notes

  that a criminal defendant could not waive the right to bring a claim for ineffective assistance

  of counsel in which he alleges ineffectiveness at the time he was entering the plea or

  ineffectiveness related to advice he received regarding the waiver."). As this claim challenges

  his counsel's performance as it relates to the validity of Petitioner's plea or waiver (inasmuch

  as Petitioner alleges that his counsel deficient handling of an improper two-point increase in

  Petitioner's criminal history calculation caused him to enter into a "flawed" plea agreement),


           3 0f note, in reaching its decision in Gomez-Diaz, the Eleventh Circuit announced that
  its opinion was in accord with the Tenth Circuit's treatment of the same issue in United States
  v. Garrett, 402 F.3d 1262 (10th Cir. 2005). The Tenth Circuit later clarified its decision in
  Garrett in addressing the issue presented in the instant case, and proceeded to hold that claims
  of ineffective assistance of counsel premised on counsel's failure to file a notice of appeal are
  barred by a valid collateral attack waiver. Falcon-Sanchez, 416 F. App'x at 730-3 1. Thus, the
  Tenth Circuit's case law concerning these issues further illustrates that the Court's
  determination in the instant case is in harmony with the Eleventh circuit's decision in Gomez-
  Diaz.

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  Petitioner's claim is not barred by the provision in the plea agreement waiving his appeal

  rights.

            That having been said, ineffective assistance of counsel claims are subject to the two-

  part test enunciated in Strickland v. Washington, 466 U.S. 668 (1994), which is not a favorable

  standard to Petitioner. Massaro v. United States, 538 U.S. 500, 505 (2003). First, Petitioner

  must show that "counsel's representation fell below an objective standard of reasonableness."

  Strickland, 466 U.S. at 688. In applying this test, reviewing courts "must indulge a strong

  presumption that counsel's conduct falls within the wide range of reasonably professional

  assistance[.]" Id.; see also Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir. 1989)

  (emphasizing "that petitioner was not entitled to error-free representation"). "A petitioner

  must overcome a strong presumption of competence, and the court must give significant

  deference to the attorney's decisions." Hgins v. United States, 267 F.3d 1202, 1204-05 (11th

  Cir. 2001). Second, Petitioner must establish prejudice by showing "that counsel's errors were

  so serious as to deprive the defendant of a fair trial, a trial whose result is reliable." Strickland,

 466 U.S. at 687. In the context of a guilty plea, the Court must normally inquire as to whether

 counsel's performance affected the outcome of the plea process. Hill v. Lockhart, 474 U.S.

  52, 59(1985).

            In applying the Strickland components outlined above, "[a] court need not determine

 whether counsel's performance was deficient before examining the prejudice suffered by the

 defendant as a result of the alleged deficiencies . . . . If it is easier to dispose of an

 ineffectiveness claim on the ground of lack of sufficient prejudice, which we expect will often

 be so, that course should be followed." Smith v. Wainwright, 777 F.2d 609, 616 (11th Cir.

  1985). Under the prejudice component, "[t]he defendant must show that there is a reasonable

 probability that, but for counsel's unprofessional errors, the result of the proceeding would

 have been different. A reasonable probability is a probability sufficient to undermine

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  confidence in the outcome...." j4, at 616 (citing Strickland, 466 U.S. at 694-95). For as the

  Eleventh Circuit has ruled, an affirmative showing of prejudice that would undermine the

  results of the proceedings is necessary because "attorney errors come in an infinite variety and

  are as likely to be utterly harmless in a particular case as they are to be prejudicial. That the

  errors had some conceivable effect on the outcome of the proceeding' is insufficient to show

  prejudice." Butcher v. United States, 368 F.3d 1290, 1293 (11th Cir. 2004) (citations

  omitted).

          "Given the strong presumption in favor of competence, the petitioner's burden of

  persuasion--though the presumption is not insurmountable--is a heavy one." Fugate v. Head,

  261 F.3d 1206, 1217 (11th Cir. 2001) (citation omitted). As the Eleventh Circuit has

  succinctly stated, "The test has nothing to do with what the best lawyers would have done.

  Nor is the test even what most good lawyers would have done." Waters v. Thomas, 46 F.3d

  1506, 1 5 12 (I I th Cir. 1995) (en bane). "[C]ases in which habeas petitioners can properly

  prevail on the ground of ineffective assistance of counsel are few and far between." LcL at

  1511.

          Here, for the reasons explained above, Petitioner's claim that his counsel failed to

  discover or object to an improper two-point increase in his criminal history calculation fails

  to establish that his guilty plea was not entered into knowingly and voluntarily. SeesuI2 Part

  iI.B. Moreover, Petitioner has not shown that his counsel's performance was objectively

  unreasonable. Petitioner asserts that he received a two-point increase in his criminal history

  calculation because of the recency of his underlying offense to a prior offense; he argues this

  is improper because by the time he was sentenced, the Sentencing Guidelines had been

  amended to eliminate the provision for increases to a defendant's criminal history points based

  on recency of a prior offense. (Doe. no. 1, p. 21.) Petitioner is correct that, effective

  November 1,2010, U.S.S .G. § 4A 1.1(e) was amended to eliminate the provision for increases

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  to a defendant's criminal history points where an offense was committed less than two years

  after release from a previous sentence of imprisonment. Compare U.S.S.G. § 4A1 .1(e)

  (2009 ed.) with U.S.S.G. § 4A 1 .1(e) (2010 ed.). Unfortunately for Petitioner, this change has

  no impact on his sentence because the record makes clear that he received no such increase in

  his criminal history calculation. See PSI. Simply put, Petitioner's counsel did not provide

  objectively unreasonable representation regarding a non-existent two-point increase in

  Petitioner's criminal history calculation.' Accordingly. Petitioner is not entitled to relief on

  this claim.

          In sum, Petitioner is not entitled to relief on any of the claims asserted in his § 2255

  motion. Respondent's motion to dismiss the § 2255 motion in its entirety should therefore be

  granted.

  III. CONCLUSION

          For the reasons set forth above, the Court finds that Petitioner is not entitled to relief

  under § 2255. The Court therefore REPORTS and RECOMMENDS that the § 2255 motion

  be DENIED, that this civil action be CLOSED, and that a final judgment be ENTERED in

  favor of Respondent.

             SO REPORTED and RECOMMENDED on this                    ay of March, 2012, at Augusta,

  Georgia.


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                                                   UNITED iTATES MMCW5TPATE JUDGE




          'Indeed, Petitioner's argument is somewhat illogical, as his criminal history points
  would not have been calculated until the PSI was prepared, which would necessarily have been
  after the entry of his guilty plea. Nevertheless, to the extent that Petitioner asserts that his
  counsel was deficient for failing to anticipate a two-point increase for recency, this argument
  must fail for the simple reason that there was no such increase in Petitioner's criminal history
  calculation.
